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FILED

JUL 05 2023

ERK. U.S. DISTRICT COURT
NORTHERN DISTRICT OF CHIO
TOLEDO

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
WESTERN DIVISION

UNITED STATES OF AMERICA, INFORMATION

Plaintiff,

CASEN® 323 MJ 8003

)
)
)
)
v. )
) Title 18, United States Code,
)
)
)
)
)

WHITNEY M. DURANT AKA SOREN
MONROE,

Section 248(a)(3)

MAG JUDGE CLAY

Defendant.

COUNT 1
(Freedom of Access to Clinic Entrances, 18 U.S.C. §248(a)(3))

The United States Attorney charges:

On or about April 15, 2023, in the Northern District of Ohio, Western Division, the
defendant, WHITNEY M. DURANT AKA SOREN MONROE, intentionally damaged the
property of HerChoice, a pregnancy care center, located in Bowling Green, Ohio, by defacing the
clinic’s building with spray paint because the clinic provides reproductive health services, in
violation of Title 18, United States Code, Section 248(a)(3).

REBECCA C. LUTZKO
United States Attorney

a Chef Shades

AVA ROTELL DUSTIN
Branch Supervisor, Toledo

